FROB. 12

 

‘“°"' 3'“”’ CaS€ 2101-Cr-20325-SHMNHW§M€19§ nf§taPElZé/B%RF%@Q€ 1 Of 20 “55@§“925“35` nw
for
wEs'rERN DIsTRICT oF TENNESSEE ,y _ l;.,_G_
U.S.A. vs. CURTIS L. BYRD Docket No. 2:01CR2{|

  

 

Petition on Probation and Supervised Release

‘Q/Sh J/`~'.;_LJ
_ _ ' . Ql/rsi¥tfi y g ;.3; ¢;QUP
COMES NOW Wilhe s. Wilhams Jr. PROBATION OFFICER OF THE COURT§rbsentih§ 511 official

 

report upon the conduct and attitude of Curtis L. ById , Who was placed on supervision by the Honorable Samuel
H. Mays, Jr. sitting in the Court at Memphis, TN , on the 17th day of Janua;y, ZOQ, who fixed the period of
supervision at three 131 years* , and imposed the general terms and conditions theretofore adopted by the Court
and also imposed Special Conditions and terms as follows:

 

l . The defendant shall participate as directed in a program (outpatient and!or inpatient) approved by the
Probation OHice for treatment of narcotic addiction or drug or alcohol dependency which may include testing
for the detection of substance use or abuse. Further, the defendant shall be required to contribute to the costs
of services for such treatment not to exceed an amount determined reasonable by the Probation Oi’licer.

2. The defendant Shall provide the Probation Oflicer access to any requested financial information

3. The defendant shall seek and maintain lawful liJll-time employment, except that the defendant shall not hold
employment involving financial and/or credit services, or in any mortgage-related business

4. The defendant Shall pay a $l ,000.00 fine in regular monthly installments of not less than ten percent (10%)
of his gross monthly income.

* Effective Date of Supervision: May 6, 2004
** The defendant was re-sentenced on September 10, 2004. He was credited with eight (8) months
toward Supervised Release term.

RESPECTFULLY PRESENTING PETITI()N FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Curtis L. Byrd’s overall response to supervision has been satisfactory, with the exception being his failure to pay his
iine in full. Mr. Byrd’s lack of stable employment is believed to be the primary reason for his inability to satisfy this
condition To date, a total of$501.24 has been paid toward the {ine. The outstanding balance is $498.76.

PRAYING THAT THE COURT WlLL ORDER that Mr. Byrd’s Probation be allowed to terminate as scheduled
on September 5, 2005, With the understanding that the United States Attorney’s Oiiice Will be responsible for the
continued collection of the line.

 

 

ORDER OF COURT Respectfully,
Considered nd ord ed this q'_%;'i~day M>p d
o_f M"’*’§ ,20_ ° ,and ordered filed dwil]ie S. WFl/ams, Jr.
and made a part of tli records in the above Senior United States Probation Oflicer
case. “,l 1
y ' ' ' Place: Memnhis Tennessee

 

U. S. District Judge Samuel H. Mays, Jr. Date: August 22 2005
Thls document entered on the docket sheet fn compliance

With Fiule 55 and/orBE( (b) FHCrF’ on g Zq 'QS/ aug

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 208 in
case 2:0]-CR-20325 was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Tracy Lynn Berry

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Honorable Samuel Mays
US DISTRICT COURT

